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                                                                  MARCH 10, 2022



                    Statement of President Joe Biden on the Justice
                            Department Naming a Chief
                                 Pandemic Prosecutor


                    In my State of the Union address, I made clear that we must conduct strong
                    oversight and robust criminal enforcement of pandemic fraud. And I
                    announced that the Department of Justice commitment would name a chief
                    prosecutor for pandemic fraud — a watchdog to go after the criminals who
                    stole billions in relief money meant for small businesses and working
                    Americans. Today, I applaud the Justice Department for moving forward so
                    swiftly to fill that role.


                    In the early days of the pandemic, the previous Administration consistently
                    undermined the watchdogs whose job it was to keep relief funds from being
                    wasted or abused. Emergency loans that were supposed to help small
                    businesses keep the lights on and keep employees on the payroll were
                    siphoned off by wealthy scammers. Foreign and domestic criminal
                    syndicates intercepted benefits meant for Americans in dire need of relief.
                    Reports of identity theft spiked by 3,000 percent from 2019 to 2020 — and far
                    too many working families bore the brunt of this unchecked fraud.


                    The watchdogs are back. The COVID-19 Fraud Enforcement Task Force has
                    already initiated more than 1,000 criminal cases, aiming to recover billions of
                    dollars for the American people. We are taking the same meticulous
                    approach that I employed when President Obama put me in charge of
                    overseeing the Recovery Act in 2009. My administration is working with the
                    oversight community to help put in place tools to prevent fraud in areas like
                    small business loans and unemployment insurance. With a Chief Pandemic
                    Prosecutor now in place, the Department of Justice will escalate our efforts
                    to crack down on bad actors — and take all efforts to seize relief money stolen
                    from American families, businesses, and schools during the last
                    Administration and deliver it back to the American people.

https://www.whitehouse.gov/briefing-room/statements-releases/2022/03/10/statement-of-president-joe-biden-on-the-justice-department-naming-a-chief…   1/2
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